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     COUNSEL FOR OBJECTORS
 5   SAMMY RODGERS AND ALVERY NEACE

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 7
                                   UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9
     IN RE: ZOOM VIDEO COMMUNICATIONS                     Master Case No. 3:20-cv-02155-LB
10   INC. PRIVACY LITIGATION,

11                                                        STATEMENT OF NON-OBJECTION
                                                          TO JURISDICTION
12   This Document Relates To:
            All Actions                                   Hon. Laurel Beeler
13                                                        Courtroom: B-15
                                                          Date: February 2, 2023
14
                                                          Time: 9:30 a.m.
15

16          Objectors Sammy Rodgers (“Rodgers”) and Alvery Neace (“Neace”) advise that they

17   have no disagreements with the initial assessment of this Court (272) and the joint filing of Class
18   Counsel and the Defendant as to the Court’s jurisdiction to hear the attorney fee motion during
19
     the pendency of the purported appeal.
20
            Counsel for Rodgers and Neace also conferred with the attorneys for Objector Judith C.
21
     Cohen. They share the same position. Therefore, no party appears to be raising any jurisdictional
22

23   issue during the hearing.

24   Dated: January 31, 2023                              ___/s/ J. Allen Roth, Esq._________
                                                          J. Allen Roth, Esq.
25
                                                           COUNSEL FOR OBJECTORS SAMMY
26                                                         RODGERS AND ALVERY NEACE
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                                                                   STATEMENT OF NON-OBJECTION TO JURISDICTION
